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 7
 8                                     UNITED STATES DISTRICT COURT
 9                                  NORTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                                 Case No. CR 03-0213 WHA
12                           Plaintiff,                         STIPULATION AND [PROPOSED]
                                                                ORDER RELEASING FUNDS ON
13           vs.                                                DEPOSIT IN ESCROW ACCOUNT
                                                                WITH THE CLERK OF THE COURT
14    DAVID SCOTT KLARMAN,
15                           Defendant.
16
                                                 STIPULATION
17
            Defendant David Scott Klarman, by and through his counsel, Edward W. Swanson, and the
18
     United States, by and through its attorney, Laurel Beeler, Assistant United States Attorney, hereby
19
     stipulate and agree as follows:
20
            1.      At the time that Mr. Klarman pled guilty, he transferred, pursuant to Paragraph 9 of the
21
     Amended Plea Agreement in the above-captioned case, not less than $5,000,000.00 into an escrow
22
     account with the Clerk of the Court (“Escrow Account”). Paragraph 9 of the Amended Plea Agreement
23
     states the following regarding the release of the funds in the Escrow Account:
24
            I agree that the funds shall be disbursed in the following order of priority, as the amount
25          of funds allows:
26                  (1) Restitution in an amount determined and ordered by this Court,
                    according to the procedures set forth in 18 U.S.C. § 3664;
27
                    (2) Pre-judgment interest based on the amount of restitution, to be set as of
28                  the filing of this Plea Agreement and to be deposited with the Court
                    Registry for payment to the Securities and Exchange Commission; and
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 1
                    (3) Any remainder to be remitted to the United States Marshal for
 2                  forfeiture.
 3          2.      As of July 28, 2006, the amount on deposit in the Escrow Account was approximately
 4   $5,388,000.00. Pursuant to Paragraph 9 of the Amended Plea Agreement, the parties agree that the full
 5   amount in the Escrow Account should be released as restitution to the Liquidating Agent of the
 6   Liquidating Trust of the Estates of U.S. Wireless Corporation, Wireless Location Technologies, Inc.,
 7   and Wireless Location Services, Inc., appointed pursuant to the confirmed plan of liquidation in the
 8   matter of In re: U.S. Wireless Corporation, Wireless Location Technologies, Inc., and Wireless Location
 9   Services, Inc., Case Nos. 01-10262 through 01-10264 (CSS), in the United States Bankruptcy Court for
10   the District of Delaware, as successor to U.S. Wireless Corporation, Wireless Location Technologies,
11   Inc., and Wireless Location Services, Inc. (“the Liquidating Trust”).
12          3.      The Liquidating Trust’s claim to the funds held in the Escrow Account shall be remitted
13   to the Liquidating Trust, by and through its Liquidating Agent, Executive Sound Board Associates, 1300
14   North Market Street, Suite 306, Wilmington, Delaware 19801.
15          IT IS SO STIPULATED.
16   Dated: August 25, 2006                                       /s/
                                                          Edward W. Swanson
17                                                        SWANSON, MCNAMARA & HALLER LLP
                                                          Attorney for David S. Klarman
18
19   Dated: August 25, 2006                                       /s/
                                                          Laurel Beeler
20                                                        Assistant United States Attorney
21                                                   ORDER
22          PURSUANT TO STIPULATION, the Court HEREBY ORDERS that the custodian of the
23   Escrow Account remit the proceeds of the Escrow Account to the Liquidating Trust of U.S. Wireless
24   Corporation, et al., by and through its Liquidating Agent, Executive Sound Board Associates, 1300
25   North Market Street, Suite 306, Wilmington, Delaware 19801, Attention: Neil Gilmour III.
                                                                              S DISTRICT
26          IT IS SO ORDERED.                                               TE           C
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     Dated: 8/28/06
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27
                                                                UNIT




                                                          The Honorable William H. Alsup
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28                                                        United States District Judge
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